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Local AO 245B (Rev. 9/13) (AO Rev. 9/11)
Sheet |

UNITED STATES DISTRICT COURT

District of North Dakota

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE

Vv.

Karin Dene Condon Case Number: 3:12-er-91-10

USM Number: 08979-059
Aubrey Zuger

Defendant’s Attorney

THE DEFENDANT:
i pleaded guilty to count(s) ONE (1) of the Superseding Indictment

[1 pleaded nolo contendere to count(s)

which was accepted by the court.

| was found guilty on count(s)
after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count

21 U.S.C. § 846 Conspiracy to Posses with Intent to Distribute and 12/13/2012 1

Distribute Controlled Substances

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

CL] The defendant has been found not guilty on count(s)

_] Count(s) LC] is Clare dismissed on the motion of the United States.

_. Itis ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

October 17, 2013

Date of Imposition of Judgment

a ne
Signatu é
Ralph R. Erickson USS. Chief District Judge
Name and Title of Judge

Oot '%) 20/3

Date
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Sheet 2 — Imprisonment

Judgment — Page 2 of

DEFENDANT: Karin Tene Condon
CASE NUMBER: 3:12-cr-91-10

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

180 months

wv The court makes the following recommendations to the Bureau of Prisons:

See page 3 for recommendations

vw The defendant is remanded to the custody of the United States Marshal.

[] The defendant shall surrender to the United States Marshal for this district:
LC at lam ©] pm. on
[1 as notified by the United States Marshal.

[] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

CL] before 2 p.m. on

[] as notified by the United States Marshal.

[] as notified by the Probation or Pretrial Services Office.

RETURN
Ihave executed this judgment as follows:
Defendant delivered on to
a , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

DEPUTY UNITED STATES MARSHAL
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Sheet 2A — Imprisonment

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DEFENDANT: Karin Ilene Condon
CASE NUMBER: 3:12-cr-91-10

ADDITIONAL IMPRISONMENT TERMS

1. That the defendant be permitted to participate in the 500 hour Residential Drug Abuse Treatment Program (RDAP) of the Bureau of
Prisons, and that he be afforded any benefit from successful completion of this program.

2. That she be allowed to serve her sentence at Waseca.

The Court notes that although there may be some concern given her criminal history and her status as a career offender. The court finds
that her entire criminal history is the result of her addiction. She possess no threat of harm to others, or herself and she posses no risk
of flight. It appears that Waseca would be appropriate. It is also a place most closely located to her family.
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Local AO 245B (Rev. 9/13) (AO Rev. 9/11)
Sheet 3 — Supervised Release

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DEFENDANT: Karin Ilene Condon
CASE NUMBER: 3:12-cr-91-10

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of :
5 years

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

(1 The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

o ae

The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

[] The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shali report to the probation officer in a manner and frequency directed by the court or probation officer;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

11) _ the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant’s compliance with such notification requirement.
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Sheet 3C — Supervised Release

Judgment—Page 5 of 6

DEFENDANT: Karin Ilene Condon
CASE NUMBER: 3:12-cr-91-10

SPECIAL CONDITIONS OF SUPERVISION

1. The defendant shall participate in a chemical dependency treatment program which may include a cognitive behavioral program as
approved by the supervising probation officer.

2. The defendant shall totally abstain from the use of alcohol and illegal drugs or the possession of a controlled substance, as defined in
21 U.S.C. § 802 or state statute, unless prescribed by a licensed medical practitioner; and any use of inhalants.

3. Defendant shall submit to drug/alcohol screening at the direction of the U.S. Probation Officer to verify compliance. Failure or
refusal to submit to testing can result in mandatory revocation. Tampering with the collection process or specimen may be considered
the same as a positive test result.

4. The defendant shall disclose her financial information at the request of the supervising probation officer.

5, As directed by the Court, if during the period of supervised release the supervising probation officer determines that defendant is in
need of placement in a Residential Re-Entry Center (RRC), the defendant shall voluntarily report to such a facility as directed by the
supervising probation officer, cooperate with all rules and regulations of the facility, participate in all recommended programming, and
not withdraw from the facility without prior permission of the supervising probation officer. The Court retains and exercises ultimate
responsibility in this delegation of authority to the probation officer. See United States v. Kent, 209 F.3d 1073 (8th Cir. 2000).

6. The defendant shall submit her person, residence, workplace, vehicle, computer, and/or possessions to a search conducted by a
United States Probation Officer based upon evidence of a violation of a condition of supervision. Failure to submit to a search may be
grounds for revocation, additional criminal charges, and arrest. The defendant shall notify any other residents that the premise may be
subject to searches pursuant to this condition.

7. The defendant shall participate in a mental health treatment program as approved by the supervising probation officer.

Court Findings Justifying Special Conditions:

a. The defendant has a history of substance abuse which has led to legal problems, and disruption of work, school, or home, and her
personal relationships.

b. The defendant would likely recidivate or violate conditions of supervision based on the PCRA results without significant treatment.

c. Upon release from the institution the defendant may have trouble securing stable employment, or finding a stable residence, The use
of a residential reentry center may aid the defendant in this transition and assure that she will have a place to live.

d. Due to the nature of the offense, it will be important to ensure all of the defendant's income is from legitimate sources.

e. The defendant has a history of mental health issues.
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Sheet 5 -— Criminal Monetary Penalties

DEFENDANT: Karin Ilene Condon

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CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 100.00 $ $
[1 The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered
after such determination.
L] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
Ifthe defendant makes a partial payment, each payee shall receive an approximately pro ortioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18°U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.
Name of Payee Total Loss* Restitution Ordered Priority or Percentage
TOTALS $ 0.00 $ 0.00
Restitution amount ordered pursuant to plea agreement $
The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
(1 _ The court determined that the defendant does not have the ability to pay interest and it is ordered that:

* Findings for the total amount of losses are re
September 13, 1994, but before April 23, 199

L]_ the interest requirement is waived for the [] fine [] restitution.

L] the interest requirement forthe [J fine [1 restitution is modified as follows:

quired under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
